Case 21-30085-hdh11 Doc 505 Filed 04/07/21                        Entered 04/07/21 11:41:29             Page 1 of 36



     NELIGAN LLP                                               GARMAN TURNER GORDON LLP
     PATRICK J. NELIGAN, JR.                                   GREGORY E. GARMAN
     State Bar No. 14866000                                    Nevada Bar No. 6654, admitted pro hac vice
     DOUGLAS J. BUNCHER                                        Email: ggarman@gtg.legal
     State Bar No. 03342700                                    WILLIAM M. NOALL
     JOHN D. GAITHER                                           Nevada Bar No. 3549, admitted pro hac vice
     State Bar No. 24055516                                    Email: wnoall@gtg.legal
     325 North St. Paul, Suite 3600                            DYLAN CICILIANO
     Dallas, Texas 75201                                       Nevada Bar No. 12348, admitted pro hac vice
     Telephone: 214-840-5333                                   E-mail: dciciliano@gtg.legal
     Facsimile: 214-840-5301                                   7251 Amigo Street, Suite 210
     pneligan@neliganlaw.com                                   Las Vegas, Nevada 89119
     dbuncher@neliganlaw.com                                   Telephone: 725-777-3000
     jgaither@neliganlaw.com                                   Facsimile: 725-777-3112
     Counsel for Debtors and                                   Counsel for Debtors
     Debtors-in-Possession                                     and Debtors-in-Possession




                                  UNITED STATES BANKRUPTCY COURT
                                    NORTHERN DISTRICT OF TEXAS
                                           DALLAS DIVISION

 IN RE:                                                       §            CHAPTER 11
                                                              §
 NATIONAL RIFLE ASSOCIATION OF                                §            CASE NO. 21-30085-hdh11
 AMERICA and SEA GIRT LLC,                                    §
                                                              §
            DEBTORS1                                          §            Jointly Administered
                                                              §

          DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
        NEW YORK’S DESIGNATIONS OF DEPOSITIONS & PRIOR TESTIMONY AND
                           DESIGNATIONS THERETO

            The National Rifle Association of America (“NRA”) and Sea Girt LLC (“Sea Girt” and

 together with NRA, the “Debtors”), debtors and debtors-in-possession, by and through their

 counsel, submit the following Objections and Counter-Designations to the Attorney General of the

 State of New York’s (“NYAG”) Designations of Depositions & Prior Testimony.




 1
     The last four digits of the Debtors’ taxpayer identification numbers are: 6130 (NRA) and 5681 (Sea Girt).

 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                                                        Page 1 of 36
Case 21-30085-hdh11 Doc 505 Filed 04/07/21               Entered 04/07/21 11:41:29        Page 2 of 36




                                     GENERAL OBJECTIONS

         The Debtors object to the designations of any portion of the transcripts of Anthony Makris,

 William Winkler, or Melanie Montgomery for those reasons asserted in the Debtors’ Objections to

 Deposition Testimony from Prior Unrelated Cases and for Which Witnesses are Not Unavailable

 and Request to Exclude the Same [ECF No. 494] (“Motion to Exclude”) which arguments are

 incorporated herein as if fully set forth herein. The objections and counter-designations are therefore

 applicable only to the extent that the Motion to Exclude is overruled or the objections stated herein

 are otherwise overruled.

         The Debtors further reserve their right to raise objections to testimony as it is read into the

 record or played live at the hearing in this matter.

         Furthermore, the designations included testimony that may be cited as confidential and

 therefore, upon the Court’s ruling on objections and testimony being submitted for the record, certain

 information may need to be sealed as appropriate.

         Finally, the designating party has not indicated an intent to introduce any exhibits through

 these designations and Debtors reserves their rights to object if, and when, the designating party

 moves for the admission of any exhibits into evidence.

         Debtors reserve the right to amend or supplement these objections and counter-designations.

                                      SPECIFIC OBJECTIONS

 Wayne LaPierre, 341 Meeting of Creditors, February 22, 2021

      Page: Lines                           Objections                       Counter-designations

  11:23-12:10

  165:20-166:5




 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                                           Page 2 of 36
Case 21-30085-hdh11 Doc 505 Filed 04/07/21           Entered 04/07/21 11:41:29     Page 3 of 36




 David Warren, 341 Meeting of Creditors, February 22, 2021

     Page: Lines                        Objections                     Counter-designations

  16:1-22

  27:3-19

  129: 12-19                                                          128:16-129:11


 Wayne LaPierre, 341 Meeting of Creditors, March 5, 2021

     Page: Lines                        Objections                     Counter-designations

  7:13-8:16

  47:5-49:4

                       Vague and ambiguous; compound; calls for
  57:21-58:4
                       speculation; calls for a legal conclusion


 David Warren, 341 Meeting of Creditors, March 5, 2021

     Page: Lines                        Objections                     Counter-designations

  14:6-19                                                             14:20-23

  15:24-16:6           Calls for speculation

  49:5-50:9

  79:10-80:8

 John Frazer, 341 Meeting of Creditors, March 5, 2021

     Page: Lines                        Objections                     Counter-designations

  42:2-20

                       Testimony of Wayne Lapierre; duplicative
  47:5-48:13           of designation referenced in earlier section
                       above



 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                                    Page 3 of 36
Case 21-30085-hdh11 Doc 505 Filed 04/07/21            Entered 04/07/21 11:41:29     Page 4 of 36




 Sonya Rowling, 341 Meeting of Creditors, March 5, 2021

     Page: Lines                         Objections                   Counter-designations

  55:20-56:7


 Deposition of John Frazer, 30(b)(6), taken on March 15, 2021

     Page: Lines                         Objections                   Counter-designations

  11:22-12:1-8, 13-17

  13:19-14:4

  14:16-15:25

  19:4-20:12

  21:17-20              Misstates testimony

  22:17-20              Counsel’s question is not evidence

  24:15-20              Counsel’s question is not evidence

  25:1-9                30(b)(6) scope

  28:16-29:14

  30:10-16

  33:11-34:23           Form; foundation; assumes facts not in
                        evidence; argumentative; calls for
                        speculation
  36:6-16

  45:2-46:18            Assumes facts not in evidence

  47:15-25

  48:2-18               Form; foundation; argumentative

  49:2-6

  51:4-11               Form; unclear question; vague; ambiguous;
                        assumes facts not in evidence

 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                                     Page 4 of 36
Case 21-30085-hdh11 Doc 505 Filed 04/07/21         Entered 04/07/21 11:41:29     Page 5 of 36




     Page: Lines                     Objections                    Counter-designations

  53:3-18           Assumes facts not in evidence;
                    argumentative; misstates testimony

  54:3-18           Assumes facts not in evidence;
                    argumentative
  55:13-56:21

  58:6-59:16

  64:17-65:13       30(b)(6) scope

  74:12-75:10       Assumes facts not evidence

  78:7-79:6         30(b)(6) scope

  80:2-23

  88:5-21

  88:25-90:15       Form

  90:25-91:3

  95:5-13

  96:16-21

  99:13-100:6       Calls for a legal conclusion

  120:10-121:8

  124:17-125:22

  130:21-131:1      30(b)(6) scope

  143:24-145:1      30(b)(6) scope

  163:2-164:4

  166:5-167:25

  170:25-171:17     Form



 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                                  Page 5 of 36
Case 21-30085-hdh11 Doc 505 Filed 04/07/21        Entered 04/07/21 11:41:29     Page 6 of 36




     Page: Lines                     Objections                   Counter-designations

  175:6-19          Counsel’s question is not evidence

  185:21-186:24     Hearsay

  188:11-24         Assumes facts not in evidence

  189:20-190:1      Form; misstates testimony

  190:16-21         Question calls for speculation and
                    characterization of events that occurred;
                    incomplete hypothetical; argumentative

  194:21-195:3      Form; 30(b)(6) scope; assumes facts not in
                    evidence

  195:23-196:8      Hearsay                                      187:21-188:10

  197:25-198:11                                                  190:6-9

  201:9-23          Question derived from inadmissible hearsay

  203:11-205:18     Hearsay

  207:5-19

  208:15-19

  212:5-24

  213:6-15          30(b)(c) scope; form; compound

  220:13-222:10     Vague; form

  225:9-15          Improper questioning based on documents
                    not in front of the witness
  226:9-227:4

  228:14-230:2

  230:10-231:9

  231:15-233:1      30(b)(6) scope



 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                                 Page 6 of 36
Case 21-30085-hdh11 Doc 505 Filed 04/07/21          Entered 04/07/21 11:41:29     Page 7 of 36




     Page: Lines                       Objections                   Counter-designations

  240:24-241:7         Document speaks for itself

  303:22-304:3

  304:23-305:14

  312:8-10

  322:7-24             Speculation; relevance


 Deposition of John Frazer, individually, March 18, 2021

     Page: Lines                       Objections                   Counter-designations

  11:6-9

  11:22-12:3

  17:21-18:1

  18:7-18

  18:22-19-10

  20:8-13

  21:2-6

  21:21-22:4

  26:19=27:9

  28:1-6

  31:5-9

  31:25-32:18

  35:11-16

  37:10-19             Hearsay (37:16-19)

  39:24-40:22          Misstates prior testimony; Document speaks
                       for itself; Hearsay


 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                                   Page 7 of 36
Case 21-30085-hdh11 Doc 505 Filed 04/07/21       Entered 04/07/21 11:41:29     Page 8 of 36




     Page: Lines                    Objections                   Counter-designations

  41:7-9

  42:8-16

  46:23-47:3

  48:11-25          Ambiguous; Compound

  50:15-51:4

  51:11-16

  52:2-7

  52:10-18

  54:15-55:14

  56:19-57:2

  59:5-24           Ambiguous

  60:2-10           Relevance; Ambiguous

  61:6-11           Relevance

  63:5-13

  63:21-64:7

  65:5-21

  66:8-18

  68:9-19

  71:3-20

  72:4-9

  72:21-25

  73:12-74:3        Seeks a legal conclusion

  74:19-20



 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                                Page 8 of 36
Case 21-30085-hdh11 Doc 505 Filed 04/07/21       Entered 04/07/21 11:41:29     Page 9 of 36




     Page: Lines                    Objections                   Counter-designations

  74:24-25

  75:1-6

  77:22-78:13

  82:17-19

  82:25-83:1

  83:4-23

  84:24-86:12       Ambiguous (84:24-25); = Ambiguous
                    (85:1-19)

  88:13-92:2        Ambiguous and calls for speculation
                    (88:13-25); Ambiguous, misleading, and
                    compound (89:1-25); Misleading, misstates
                    prior testimony, ambiguous (90:1-25);



  93:1-12

  93:23-94:3

  94:11-16

  95: 3-13          Attorney-client privilege; Ambiguous



  95:15-25          Relevance; Misleading

  97:13-24          Relevance; Lacks foundation; Calls for
                    speculation

  98:16-21          Relevance ; Lacks foundation; Calls for
                    speculation

  99:18-100:3       Relevance; Lacks foundation; Calls for
                    speculation

  101:21-102:2



 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                                Page 9 of 36
Case 21-30085-hdh11 Doc 505 Filed 04/07/21        Entered 04/07/21 11:41:29    Page 10 of 36




      Page: Lines                    Objections                   Counter-designations

  102:11-13          Lacks foundation; Calls for speculation

  102:24-25

  103:14-20

  104:8-25           Relevance; Lacks Foundation; Calls for
                     speculation; Ambiguous

  105:13-17          Relevance; Lacks Foundation; Calls for
                     speculation

  107:2              Answer to objected question

  108:25-110:7

  111:13-112:10

  112:25-113:1

  113:24-114:21      Ambiguous; Misleading; Lacks Foundation;
                     Document speaks for itself; Best evidence.

  117:7-118:2        Misleading; Misstates prior testimony

  118:15-22          Compound; Misleading

  119:14-120:3

  120:10-122:2       Lacks Foundation; Ambiguous

  125:10-126:9

  128:9-130:1        Ambiguous; Lacks Foundation;
                     Hypothetical

  133:22-134:1

  135:17-136:17

  140:23-141:8       Relevance; Ambiguous; Lacks Foundation

  141:14-143:19      Relevance; Ambiguous; Misstates prior
                     testimony



 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                                 Page 10 of 36
Case 21-30085-hdh11 Doc 505 Filed 04/07/21        Entered 04/07/21 11:41:29    Page 11 of 36




      Page: Lines                    Objections                     Counter-designations

  149:16-25

  153:17-154:2

  154:11-15

  155:24-156:12      Relevance; Lacks Foundation; Calls for
                     speculation

  156:21-157:2

  158-170            Improper designation – attorney colloquy is
                     not evidence




  171:3-172:21

  173:21-174:16

  175:12-23

  177:3-17

  179:4-10

  184:3-185:23

  186:8-187:22

  188:12-23

  192:11-17

  193:1-17           Misleading; Calls for a legal conclusion;
                     Improper opinion

  194-17-23          Calls for a legal conclusion; Improper
                     opinion; Calls for speculation; Hypothetical

  195:1-12           Calls for a legal conclusion; Improper
                     opinion; Calls for speculation; Hypothetical




 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                                 Page 11 of 36
Case 21-30085-hdh11 Doc 505 Filed 04/07/21        Entered 04/07/21 11:41:29    Page 12 of 36




      Page: Lines                    Objections                   Counter-designations

  195:17-197:13      Calls for a legal conclusion; Improper
                     opinion; Misleading

  197:23-198:23      Ambiguous; Calls for speculation

  199:5-22           Calls for a legal conclusion; Improper
                     opinion; Calls for speculation

  200:20-201:13

  204:8-13

  204:23-25

  207:23-208:14

  209:21-210:13

  210:21-212:9

  213:21-214:10      Ambiguous; Misleading

  214:14-215:22      Ambiguous; Misleading

  216:20-218:2       Compound; Ambiguous; Misleading;

  218:7-19

  220:4-19

  223:6-12

  224:17-225:6

  226:5-6

  227:11-228:5       Calls for legal advice; Improper opinion

  229:6-12

  237:16-22          Ambiguous; Document speaks for itself

  239:5-17

  240:8-21



 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                                 Page 12 of 36
Case 21-30085-hdh11 Doc 505 Filed 04/07/21           Entered 04/07/21 11:41:29    Page 13 of 36




      Page: Lines                       Objections                     Counter-designations

  246:2-6               Calls for legal advice; Improper opinion;
                        Calls for speculation; hypothetical

  258:14-21

  260:20-25             Ambiguous; Misleading



  263:5-20              Lacks Foundation; speculation

  267:25-268:5          Relevance; Ambiguous; Misleading

  276:12-277:2          Ambiguous; Misleading

  283:18-284:18         Ambiguous; Misleading

  289:2-21              Ambiguous; Misleading; Compound

  290:14-21             Misstates prior testimony; Ambiguous;
                        Misleading

  291:12-21             Calls for legal conclusion; Improper opinion

  292:1-8               Misleading; Hypothetical

  294-13-21             Misleading; Ambiguous

  295:6-11

  296:14-24             Document speaks for itself

  301:7-23

  302:12-303:4


 Deposition of Wilson Phillips, Jr, taken on March 19, 2021

      Page: Lines                       Objections                     Counter-designations

  16:21-18:12

  18:20-20:12




 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                                    Page 13 of 36
Case 21-30085-hdh11 Doc 505 Filed 04/07/21        Entered 04/07/21 11:41:29     Page 14 of 36




      Page: Lines                    Objections                    Counter-designations

  21:4-24:23         Vague and ambiguous (21:10 – 22:8);          20:13-21:3
                     Improper Opinion, Foundation

  27:11-28:24        Incomplete, ambiguous                        27:4-10-28, 25-29:7

  29:10-30:5         Ambiguous

  33:23-35:14

  35:24-36:1         Relevance; Speculation                       36:2-4

  37:19-37:22

  38:10-40:8

  46:1-47:1          Calls for speculation

  52:17-55:5

  55:19-58:6         Calls for speculation (57:18-58:1)

  58:15-62:13        Misstates testimony (59:11-22); Document
                     speaks for itself (60:3-5); Foundation and
                     speculation (60:23-25, 61:5-14)

  63:6-64:10

  66:1-67:16

  68:10-76:11        Foundation and speculation (73:25 – 76:11)

  76:23-77:14

  78:8-81:14         Foundation and speculation                   81:5-82:10

  82:11-90.3

  90:16-91.3

  92:16-93:24        Foundation and speculation

  92:20-24           Improper opinion testimony

  96:15-96:25        Foundation and speculation



 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                                  Page 14 of 36
Case 21-30085-hdh11 Doc 505 Filed 04/07/21        Entered 04/07/21 11:41:29       Page 15 of 36




      Page: Lines                    Objections                     Counter-designations

  97:7-98:9                                                        98:16-18

  98:19-98:22                                                      98:23-24

  100:11-104:6       Foundation and speculation

  108:17-111:2       Foundation and speculation

  111:23-113:13      Foundation and speculation

  115:7-116:9

  117:15-121:19      Foundation and speculation

  117:15-121:19

  121:21-123:1                                                     123:2-123:16

  124:12-125:17      Foundation, speculation, assumes facts not
                     in evidence (125:10-14)

  126:9-127.3        Foundation and speculation (126:9-20)

  129:9-147:13       Foundation and speculation (129:18-132:19;
                     133:11-134:3; 134:16-135:23; 136:18;
                     139:19-140:9; 146:4-20); Assumes facts not
                     in evidence (140:10-11; 140:21-22; 141:7-9;
                     142-7-8); Document speaks for itself, calls
                     for a legal conclusion (143:13-146:3);
                     Misstates testimony and hearsay (146:21-
                     147:13)

  148:23-150:2       Foundation

  152:12-153:11      Foundation (152:12-153:6)

  157:20-159:2       Foundation and speculation

  160:10-163:17      Foundation and speculation (161:17-21;
                     162:2-16; 163:6-10)

  164:17-174:14      Vague (164:17-165:14); Foundation
                     (165:22-166:7; 173:23-25); Speculation
                     (170:22-171:17); Document speaks for itself



 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                                 Page 15 of 36
Case 21-30085-hdh11 Doc 505 Filed 04/07/21          Entered 04/07/21 11:41:29    Page 16 of 36




      Page: Lines                      Objections                   Counter-designations

  178:4-181:19         Foundation (178:4-179:2); Foundation and
                       speculation (180:25-181:6)

  182:5-17             Foundation and speculation

  186:11-187:9         Foundation and speculation

  191:7-192:19         Foundation and speculation                  192:20 – 193:13

  193:14-194:5

  204:14-212:13        Foundation: document speaks for itself;
                       Assumes facts not in evidence (206:8)
  212:19-20

  213:4-215:16         Calls for a legal conclusion (215:5-13)

  216:14 – 218:22      Foundation and speculation (216:19-21);
                       Relevance and improper opinion (218:14-
                       17)
  221:7-222:19         Vague; Speculation

  228:6-228:25

  237:10-15            Hearsay


 Deposition of Sonya Rowling, 30(b)(6), taken on March 19, 2021

      Page: Lines                      Objections                   Counter-designations

  16:10-18:19                                                      16:5-10

  21:13-19             Foundation                                  20:16-21:12

  24:4-18                                                          23:20-24:3

  24:25-27:6           Foundation

  28:9-30:23           Foundation; Misstates testimony

  33:12-34:12                                                      34:13-35:2

  35:3-15                                                          35:16-36:11



 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                                   Page 16 of 36
Case 21-30085-hdh11 Doc 505 Filed 04/07/21       Entered 04/07/21 11:41:29     Page 17 of 36




      Page: Lines                   Objections                   Counter-designations

  37:15-38:17                                                   38:18-20

  50:8-14            Speculation                                50:15-22

  52:5-12                                                       52:13-18

  53:20-55:14                                                   55:15-56:3

  56:4-11            Foundation; Speculation

  62:13-19                                                      61:25-62:12

  66:23-67:2

  71:14-72:10                                                   72:11-17

  73:25-74:8

  74:17-75:7

  85:24-86:15

  86:19-87:5                                                    87:6-20

  90:1-6                                                        90:7-91:2

  91:3-92:15                                                    92:16-17

  93:15-18           Foundation                                 93:19-23

  96:16-24

  105:23-106:3                                                  106:4-20

  106:21-25

  107:14-108:5                                                  107:1-13

  108:20-109:3                                                  108:6-19

  110:23-111:8

  113:13-114:15                                                 112:25-113:12

  116:9-12                                                      116:13-117:3



 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                                Page 17 of 36
Case 21-30085-hdh11 Doc 505 Filed 04/07/21       Entered 04/07/21 11:41:29     Page 18 of 36




      Page: Lines                   Objections                   Counter-designations

  117:4-14

  119:17-120:12                                                 118:14-23

  132:13-133:7

  133:23-134:5                                                  134:6-16

  135:23-137:1                                                  135:13-22
                                                                137:2-138:6

  138:7-139:22                                                  139:23-140:18

  141:17-142:1                                                  142:2-4

  142:18-143:14                                                 143:23-144:7

  146:19-147:3                                                  147:4-148:8

  148:9-149:2

  154:16-155:4                                                  155:5-13

  156:14-157:16                                                 157:25-159:20

  159:21-161:14

  163:3-164:1

  164:6-167:7        Foundation; Speculation

  170:25-172:2       Speculation

  174:11-175:20                                                 175:21-176:1

  180:3-21

  181:3-14                                                      181:15-182:3

  182:6-18                                                      182:19-183:13

  183:14-20

  184:3-185:13                                                  185:14-186:18




 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                                Page 18 of 36
Case 21-30085-hdh11 Doc 505 Filed 04/07/21            Entered 04/07/21 11:41:29     Page 19 of 36




      Page: Lines                      Objections                     Counter-designations

  194:22-195:8                                                       195:9-12

  196:1-13             Foundation

  203:16-204:15                                                      204:16-21

  204:22-205:5                                                       205:6-206:16

  217:2-218:6                                                        218:7-12

  219:9-15


 Deposition of Wayne LaPierre, individually and 30(b)(6), taken March 22-23, 2021

      Page: Lines                      Objections                     Counter-designations

  31:22–32:12

  42:6-18

  45:1-9                                                             45:10-24
                       Incomplete designation; calls for
  53:1-15              speculation                                   53:16-54:2

                       Vague; misstates testimony
  61:2-25
                       Calls for a legal conclusion
  62:14:64–8

  66-17-23
                       Vague
  68:22–69:24
                       Improper opinion testimony (73:14-17;
  73:3–81:19           77:9-12); Foundation (75:10-75:18; 79:19-
                       21) and speculation
  84:1-19

  86:15-22
                       Lack of foundation; calls for speculation
  89:19–90:10
                       Document speaks for itself (91:10-93:6)
  90:23–99:2

  103:14–105:2                                                       105:7-8


 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                                     Page 19 of 36
Case 21-30085-hdh11 Doc 505 Filed 04/07/21         Entered 04/07/21 11:41:29    Page 20 of 36




      Page: Lines                     Objections                   Counter-designations

  105:10–106:7                                                    106:8-13

  106:14–20
                     Foundation, speculation (114:24-115:11)
  113:6–118:5                                                     118:6-25

  120:10–121:11
                     Argumentative, assumes facts not in
  124:19–129:9       evidence, calls for a legal conclusion

                     (duplicative of preceding cite, same
  124:23–129:9       objections)

                     Incomplete designation, foundation,
  129:23–132:4       speculation
  133:4–19                                                        133:20-134:16
                     Argumentative (134:17)
  134:17–135:4                                                    135:5 – 136:15
                     Foundation; calls for speculation
  136:16–138:14

  140:5–25

  143:1–25

  144:25–145:7
                     Misstates testimony (147:7-13)
  146:4–148:22
                     Assumes facts not in evidence
  149:2–22
                     Assumes facts, foundation and speculation
  150:8–152:15       (150:24-151:15), vague and ambiguous

                     Foundation, calls for speculation
  154:1–158:19
                     Foundation (163:13-21)
  163:12:166:11

  168:12: 170:1                                                   170:2-9

  174:23–175:4

  176:6–176:25                                                    177:13-178:16
                     Assumes facts not in evidence
  178:17–23                                                       179:2-181:8



 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                                  Page 20 of 36
Case 21-30085-hdh11 Doc 505 Filed 04/07/21          Entered 04/07/21 11:41:29     Page 21 of 36




      Page: Lines                     Objections                    Counter-designations

  181:10–182: 5
                     Misstates testimony
  183:17–184:16
                     Foundation
  185:13–22
                     Foundations, calls for a legal conclusion
  186:12–188:3

  192:14–193:6

  198:10–15                                                        198:16

  200:13–21                                                        200:22-201:4

  201:19–202:13                                                    202:18-204:9

  204:10–205:2

  209:13–22                                                        209:23-210:10
                     Calls for a legal conclusion (215:21-23,
  212:17–230:22      216:4-7); Speculation (233:13-234:13,
                     236:9-237:11); Misstates testimony
                     (263:10-13); Other objections as noted in
                     record


  232:1–240:11

  254:23–255:17

  255:22–257:20
                     Vague (261:18-20)
  258:11–263:23
                     Speculation (266:5-8)
  265:11–266:14
                     This is duplicative of the prior cite and
  266:2–17           appears to be incomplete

                     Foundation, calls for a legal conclusion
  268:11–272:6       (271:3-272:6)

                     Calls for a legal conclusion
  272:15–273:12
                     Speculation (288:6-13)
  283:9–291:17

  299:4–21

 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                                   Page 21 of 36
Case 21-30085-hdh11 Doc 505 Filed 04/07/21         Entered 04/07/21 11:41:29     Page 22 of 36




 Deposition of Craig Spray, taken March 24, 2021

      Page: Lines                     Objections                   Counter-designations

  17:10-20:11

  21:1-16                                                         21:17-20

  22:14-23:2                                                      23:3-24:8

  26:14-29:2                                                      29:3-30:20

                                                                  223:5-224:12

                                                                  224:23-226:19

  30:21-34:20                                                     34:21-35:22

  35:23-36:23

  39:1-25

  40:8-43:20

  44:10-47:22                                                     47:23-49:2

                                                                  241:1-23

  49: 3-50:16

  51:2-55:18                                                      55:19-56:19

  56:20-57:7

  58:8-14                                                         59:15-60:3

  60:8-62:6

  63:24-64:17          Hearsay                                    64:18-24

  68:20-72:18                                                     65:9-66:9

                                                                  220:7-221:20

                                                                  270:6-271:12

  76:11-76:25                                                     77:1-79:7


 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                                  Page 22 of 36
Case 21-30085-hdh11 Doc 505 Filed 04/07/21     Entered 04/07/21 11:41:29     Page 23 of 36




      Page: Lines                 Objections                   Counter-designations

  80:1-86:1                                                   86:2-6

  86:7-90:22                                                  243:14-245:6

                                                              246:13-247:5

                                                              248:11-249:22

                                                              250:22-251:6

                                                              257:19-258:22

                                                              260:14-261:24

  91:4-93:16                                                  93:17-94:1

  95:6-96:3                                                   97:3-22

  104:13-105:23                                               98:2-101:15

                                                              105:24-106:7

                                                              107:7-111:18

                                                              121:19-122:25

                                                              233:10-234:1

                                                              288:11-289:7

  123:24-125:12                                               126:20-131:10

                                                              140:8-144:17

  144:18-145:25                                               146:1-16

  146:17-161:25      Hearsay

  165:14-166:9

  169:23-172:25                                               173:1-2

  175:15-22

  178:1-179:7



 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                              Page 23 of 36
Case 21-30085-hdh11 Doc 505 Filed 04/07/21         Entered 04/07/21 11:41:29     Page 24 of 36




      Page: Lines                     Objections                   Counter-designations

  181:8-183:1                                                     183:2-184:7

  184:12-187:18                                                   187:19-24

  190:8-25                                                        190:17-22

                                                                  193:22-195:18

                                                                  196:22-198:10

  199:4-200:24                                                    200:25-203:1

  203:8-209:18                                                    209:19-212:24

  215:18-218:6                                                    215:7-18

                                                                  287:15-288:6

  232:1-233:9          Speculation

  236:24-238:7                                                    283:17-240:21


 Deposition of Tony Makris, taken March 24, 2021

      Page: Lines                     Objections                   Counter-designations

  93:1- 94:4           FRE 106 (92:1-25; 117:7-18)                92:1-25; 117:7-18

  94:16-95:13          Relevance                                  92:1-25; 117:7-18

  100:19-101:24        Relevance                                  97:11-23; 98:17-100:6;
                                                                  102:1-25; 103:24-104: 16

  105:12-106:22        Relevance                                  108:19-110:14; 112:25-
                                                                  113:5

  110:18-112:14                                                   112:25-113:5

  113:19-115:19                                                   112:25-113:5

  119:24-120:12                                                   118:10-119:23; 120:13-
                                                                  16

  127:24-130:12                                                   127:8-11


 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                                  Page 24 of 36
Case 21-30085-hdh11 Doc 505 Filed 04/07/21          Entered 04/07/21 11:41:29      Page 25 of 36




      Page: Lines                      Objections                    Counter-designations

  132:8-19                                                          132:20-133:13

  133:14-134:22

  151:4-156:13                                                      150:6-151:3

  165:1-15                                                          164:20-25; 165:16-166:4

  171:4-172:15                                                      92:1-25; 117:7-18

  176:24-178:18

  180:3-24                                                          180:25-181:12

  240:23-241:13                                                     240:16-22

  245:13-247:21        Relevance                                    74:5-75:23

                       Confidential (247:3-21)

  250:1-251:9          Confidential (249:1-251:15)                  284:22-285:2

  252:13-255:21        Document speaks for itself                   284:22-285:2

                       Confidential (252:22-254:6)

  260:3-261:8          Relevance; Foundation; Speculation;
                       Hearsay

  265:9-266:11         Foundation; Speculation

  266:24-269:9         Document speaks for itself; Argumentative,
                       Leading, Form, Assumes facts not in
                       evidence; mischaracterizes testimony
                       (267:25-268:6)

  272:2-20             Lack of Foundation; Hearsay


 Deposition of Gayle Stanford, taken March 25, 2021

      Page: Lines                      Objections                    Counter-designations

  13:02-13:08




 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                                    Page 25 of 36
Case 21-30085-hdh11 Doc 505 Filed 04/07/21     Entered 04/07/21 11:41:29    Page 26 of 36




      Page: Lines                 Objections                   Counter-designations

  13:25-14:08

  14:13-14:14

  14:15-14:15

  14:16-14:19

  14:21-14:22

  14:24-15:01

  15:03-15:03

  15:05-15:06

  15:07-15:25

  16:01-16:12

  16:13-16:15

  16:17-16:23

  16:25-17:02

  17:03-17:08

  17:17-17:20

  17:21-18:02

  18:03-19:02

  19:03-19:04

  20:07-20:09

  22:07-22:08

  22:09-22:15                                                 22:16-17




 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                              Page 26 of 36
Case 21-30085-hdh11 Doc 505 Filed 04/07/21     Entered 04/07/21 11:41:29    Page 27 of 36




      Page: Lines                 Objections                   Counter-designations

  23:07-23:14

  24:14-24:16

  24:17-25:04

  25:24-26:13

  26:14-27:08

  27:09-27:15

  28:03-28:09

  28:10-28:18

  28:19-28:25

  29:01-29:03                                                 29:3-11

  31:11-32:01

  32:02-32:19        Vague

  32:21-33:01        Vague

  33:03-33:04

  33:06-33:10        Vague

  33:12-33:16

  33:17-33:18

  33:19-34:03

  34:04-34:13

  34:15-34:23        Hearsay

  34:25-35:05




 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                              Page 27 of 36
Case 21-30085-hdh11 Doc 505 Filed 04/07/21      Entered 04/07/21 11:41:29    Page 28 of 36




      Page: Lines                  Objections                   Counter-designations

  36:01-36:03

  36:05-36:25

  37:12-37:14

  37:16-38:02

  40:08-41:02

  41:15-41:19

  41:20-41:25

  42:02-42:12

  42:13-42:14

  42:15-42:22

  42:25-43:12

  43:13-43:21                                                  44:4-5

  44:20-45:09

  45:23-46:01

  46:02-46:02

  46:06-46:13

  46:15-46:22        Speculation

  46:25-47:16

  47:19-48:01

  48:02-48:20

  48:22-49:03




 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                               Page 28 of 36
Case 21-30085-hdh11 Doc 505 Filed 04/07/21       Entered 04/07/21 11:41:29    Page 29 of 36




      Page: Lines                   Objections                   Counter-designations

  49:04-49:14                                                   49:15-20

  49:21-49:25        Vague

  50:02-50:15

  50:18-51:10

  51:25-52:03

  52:04-52:13

  52:20 -53:03

  53:08-53:22

  54:10-54:22

  55:14-56:07

  57:25-59:14

  60:18-60:23

  60:25-61:05

  61:06-61:10

  61:11-61:11

  61:13-61:21

  61:22-61:25

  62:24-63:14

  63:16-63:16

  65:18-65:20        Misstates testimony

  66:05-66:11




 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                                Page 29 of 36
Case 21-30085-hdh11 Doc 505 Filed 04/07/21        Entered 04/07/21 11:41:29    Page 30 of 36




      Page: Lines                    Objections                   Counter-designations

  66:17-66:23

  66:24-67:15

  67:16-67:22

  67:23-67:25        Calls for speculation

  68:03-68:07        Calls for speculation

  68:19-68:24

  75:21-76:08

  86:23-87:06                                                    87:7-16

  87:17-88:12

  88:13-88:16

  88:17-88:22

  88:24-89:01

  89:03-89:12

  91:09-91:17

  91:23-92:06

  92:07-93:15

  93:16-93:21                                                    93:22-25

  95:01-95:05

  95:07-95:15

  95:19-96:02

  96:07-96:18




 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                                 Page 30 of 36
Case 21-30085-hdh11 Doc 505 Filed 04/07/21          Entered 04/07/21 11:41:29    Page 31 of 36




      Page: Lines                      Objections                   Counter-designations

  96:19-96:22

  96:23-96:25

  97:05-97:12

  97:14-97:14

  97:15-97:17

  97:18-98:02

  118:18-118:25

  119:01-119:02

  119:07-119:25

  120:01-120:09

  120:10-120:10

  120:12-120:21

  120:23-121:15

  122:01-122:16        Speculation (122:13-18)

  122:18-122:18        Speculation (122:13-18)

  122:19-123:07        Outside scope of direct

  123:09-124:05        Outside scope of direct


 Deposition of William Winkler, 30(b)(6), taken March 26, 2021

      Page: Lines                      Objections                   Counter-designations

  62:6-13                                                          59:7-62:5
                                                                   62:14-64:1
  64:2-65:7            Speculation (64:10-12)
  65:8-20


 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                                   Page 31 of 36
Case 21-30085-hdh11 Doc 505 Filed 04/07/21      Entered 04/07/21 11:41:29     Page 32 of 36




  69:8-70:11         Hearsay testimony based on out-of-court   66:10-69:7
                     statements of Angus McQueen (69:17-23)
  70:12-72:25        Hearsay testimony based on out-of-court
                     statements of Rick Tedrick (71:15-23 )

                     Hearsay testimony based on out-of-court
                     statements of Angus McQueen (75:5-7)


  73:1-14            Hearsay testimony based on out-of-court
                     statements of Angus McQueen

  74:16-75:24
  76:2-10
  84:18-85:22
  85:23-86:6
  101:20-104:13                                                104:14-105:19
  108:5-109:15                                                 107:10-108:4
                                                               109:16-110:3
  110:4-22           Hearsay testimony based on out-of-court
                     statements of Angus McQueen

  116:14-117:2                                                 116:4-13
  122:12-123:10      Hearsay testimony based on out-of-court   117:3-122:11
                     statements of Angus McQueen (122:22-23
                     )

  123:11-124:8       Speculation; Lacks foundation (123:6-9)   124:9-127:7

  143:21-148:2       Hearsay testimony based on out-of-court
                     statements of Angus McQueen (144:3-6)

                     Hearsay testimony based on out-of-court
                     statements of Angus McQueen (144:13-
                     148:2)

  151:12-21                                                    151:22-152:19
  152:20-154:14      Hearsay testimony based on out-of-court
                     statements of Angus McQueen (152:22-
                     153:1)

                     Hearsay testimony based on out-of-court
                     statements of Angus McQueen (153:12-18)




 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                               Page 32 of 36
Case 21-30085-hdh11 Doc 505 Filed 04/07/21      Entered 04/07/21 11:41:29         Page 33 of 36




  156:4-160:22       Hearsay testimony based on out-of-court
                     statements of Angus McQueen (156:22-
                     158:16)


  163:18-167:21      Hearsay testimony based on out-of-court       162:8-163-17
                     statements of Angus McQueen (164:6-13)

                     Hearsay testimony based on out-of-court
                     statements of Angus McQueen (164:19-21)


  176:4-23
  179:17-180:14                                                    180:21-181:9
  181:10-183:11                                                    183:12-183:19
                                                                   184:19-21
  184:22-185:18      Hearsay testimony based on various out-of-    185:19-21
                     court statements told to him or in writing
                     (185:7-18)
  186:5-12

  198:21-199:13                                                    199:14-200:2
                                                                   203:13-205:16
                                                                   207:9-208:7
                                                                   208:23-209:22
                                                                   210:14-211:10
                                                                   213:13-23
                                                                   214:22-215:4
                                                                   215:5-216:19
                                                                   218:22-219:13
                                                                   219:14-17
                                                                   219:23-220:5
                                                                   222:10-24
  230:2-231:9        Hearsay testimony based on out-of-court
                     statements by various declarants verbally
                     and in writing (230:19-231:9)
  233:15-235:8       Argumentative; speculation; lacks
                     foundation; hearsay based on review of out-
                     of-court statements by Montgomery
  236:2-237:3        Hearsay testimony based on out-of-court
                     statements by Angus McQueen and review
                     of out-of- court statements by Montgomery
  239:10-243:24      Speculation, lacks foundation (241:13-        238:18-239:9
                     242:6); Relevance (242:1-6); Hearsay; no
                     personal knowledge, lacks foundation
                     (243:5-243:24)

 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                                Page 33 of 36
Case 21-30085-hdh11 Doc 505 Filed 04/07/21         Entered 04/07/21 11:41:29      Page 34 of 36




   244:3- 246:7       Hearsay (see testimony at 254:3-8 (witness
                      testifies he was not party to conversation
                      about which he gave testimony);
                      Argumentative, speculation, lacks
                      foundation (245:13-17)


 Deposition of Melanie Montgomery, taken March 31, 2021

      Page: Lines                     Objections                    Counter-designations

  13:17-15:17                                                      19:18-20:17; 30:22-33:12

  20:19 -5

  26:14-27:12

  80:15-81:15                                                      84:6-24; 85:21-86:25

  82:21-83:19

  88:20-93:2                                                       95:11-22; 96:1-97:5

  112:10-115:14                                                    115:15-117:9

  117:10 -19

  117:20-119:10




 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                                  Page 34 of 36
Case 21-30085-hdh11 Doc 505 Filed 04/07/21   Entered 04/07/21 11:41:29       Page 35 of 36




 Dated: April 7, 2021                    Respectfully submitted,


                                         /s/ Gregory E. Garman
                                         Patrick J. Neligan, Jr., SBN 14866000
                                         Douglas J. Buncher, SBN 03342700
                                         John D. Gaither, SBN 24055516
                                         NELIGAN, LLP
                                         325 North St. Paul, Suite 3600
                                         Dallas, Texas 75201
                                         Telephone: 214-840-5333
                                         Facsimile: 214-840-5301
                                         pneligan@dneliganlaw.com
                                         dbuncher@neliganlaw.com
                                         jgaither@neliganlaw.com
                                         Gregory E. Garman
                                         Nevada Bar No. 6654, admitted pro hac vice
                                         William M. Noall
                                         Nevada Bar No. 3549, admitted pro hac vice
                                         Dylan Ciciliano
                                         Nevada Nar No. 12348, admitted pro hac vice
                                         GARMAN TURNER GORDON LLP
                                         7251 Amigo Street, Suite 210
                                         Las Vegas, Nevada 89119
                                         T: 725-777-3000 / F: 725-777-3112
                                         ggarman@gtg.legal
                                         wnoall@gtg.legal
                                         dciciliano@gtg.legal
                                         Counsel for Debtors




 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                              Page 35 of 36
Case 21-30085-hdh11 Doc 505 Filed 04/07/21        Entered 04/07/21 11:41:29       Page 36 of 36




                               CERTIFICATE OF SERVICE

        The undersigned hereby certifies that a true and correct copy of the foregoing document

 has been served on all parties receiving notice by and through the Court’s CM/ECF system on

 April 7, 2021.


                                                          /s/ Caitlin Halm
                                                          Caitlin Halm, an employee of
                                                          Garman Turner Gordon LLP




 DEBTORS’ OBJECTIONS TO ATTORNEY GENERAL OF THE STATE OF
 NEW YORK’S DEPOSITION DESIGNATIONS & PRIOR TESTIMONY AND
 COUNTER-DESIGNATIONS THERETO                                                   Page 36 of 36
